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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

  DAVID POSCHMANN,

                 Plaintiff,
  v.                                                              CASE NO.

  DELRAY BEACH ASSOCIATES, INC. and
  LUV SHAK HOSPITALITY, INC.,

                 Defendants.
  _______________________________________     /
                                              COMPLAINT

         Plaintiff, DAVID POSCHMANN, by and through his undersigned counsel, hereby sues

  the Defendants, DELRAY BEACH ASSOCIATES, INC. and LUV SHAK HOSPITALITY,

  INC., for injunctive relief pursuant to the Americans With Disabilities Act, 42 U.S.C. §12181, et

  seq. (hereinafter, the “ADA”) and in support thereof states as follows:

                                            JURISDICTION

          1.              This court has subject-matter jurisdiction since this action arises pursuant to 28

  U.S.C. § 1331 and §1343 and Plaintiffs claims arise under 42 U.S.C. §12181 et seq. based upon

  Defendants' violations of Title III of the ADA.

                                                  VENUE

          2.              Venue lies in this district pursuant to 28 U.S.C. § 1391(b) because the property

  that is the subject of this action is situated within this district and the events giving rise to the

  claims asserted herein occurred in this district.
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                                                   PARTIES

         3.       Plaintiff, David Poschmann, is an individual residing in this district who is over

  eighteen years of age and sui juris. Plaintiff is disabled as such term is defined by the ADA and

  is substantially limited in performing one or more major life activities due to the amputation of

  his right leg in 2012. Plaintiff uses a wheelchair to ambulate. Plaintiff drives his own specially

  equipped vehicle and has a valid disabled parking permit from the Florida Department of

  Highway Safety and Motor Vehicles. Plaintiffs access to the premises described below

  (hereinafter, the “Property”), and his full and equal enjoyment of the goods, services, facilities,

  privileges, advantages and/or accommodations offered at the Property were restricted and limited

  because of Plaintiffs disability and will be restricted in the future unless and until Defendants

  are compelled to cure the mobility-related ADA violations that exist at the Property, including

  those set forth in this Complaint.1Plaintiff intends to return to the Property in the near future,

  within ninety (90) days, to avail himself of the goods and services offered to the public at the

  Property and/or in order to test the Property for compliance with the mobility-related provisions

  of the ADA.

          4.       Defendants transact business within this judicial district within the State of

  Florida by, inter alia, being the owner and operator of the Property which is a commercial

  building (including the adjoining grounds servicing the commercial building) in which a

  restaurant/bar, commonly known as "Blue Anchor", is located. The address of the Property is

  804 East Atlantic Avenue, Delray Beach, Florida, Specifically, Defendant Delray Beach




  1 The term "ADA violations", as used herein, means that the physical elements at issue violated the ADA's
  regulations and the ADA Standards for Accessible Design, originally published in 1991, as well as the 2010
  Standards that became effective on March 15, 2012.



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 Associates, Inc. owns the Property and Defendant Luv Shak Hospitality, Inc. owns and operates

 Blue Anchor.

                CLAIM FOR INJUNCTIVE RELIEF PURSUANT TO THE ADA

          5.       On July 26, 1990, Congress enacted the ADA explaining that the purpose o f the

  ADA was to provide a clear and comprehensive national mandate for the elimination of

  discrimination against individuals with disabilities and to provide clear, strong, consistent,

  enforceable standards addressing said discrimination, invoking the sweep of congressional

  authority in order to address the major areas of discrimination faced day-to-day by people with

  disabilities to ensure that the Federal government plays a central role in enforcing the standards

  set by the ADA. (42 U.S.C. § 12101(b)(l)-(4)).

          6.       Places of public accommodation were provided with one and a half years from the

  enactment of the ADA to implement the requirements imposed by the ADA. The effective date

  of Title III of the ADA was January 26, 1992 (or January 26, 1993 if the defendant had ten or

  fewer employees and gross receipts of $500,000.00 or less).

          7.       Pursuant to the mandates of 42 U.S.C. §12134(a), on September 15,2010, the

  Department of Justice, Office of the Attorney General, published revised regulations for Title III

  of the Americans With Disabilities Act of 1990 in the Federal Register to implement the

  requirements of the ADA (hereinafter “STANDARDS”). Public accommodations were required

  to conform to these regulations on or before March 15, 2012. 2

          8.       The Property is a place of public accommodation pursuant to the ADA.2



  2 "Safe Harbor. Elements that have not been altered in existing facilities on or after March 15,2012, and that comply
  with the corresponding technical and scoping specifications for those elements in the 1991 Standards are not
  required to be modified in order to comply with the requirements set forth in the 2010 Standards" 28 CFR
  §36.304(d)(2)(i), however, the violations described herein violate both the 1991 Standards as well as the 2010
  Standards.



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         9.     Most recently, in February, 2020 Plaintiff attempted to, and to the extent possible,

 accessed the Property but could not fully do so because of his disability due to the mobility-

 related ADA violations as well as Defendants' mobility-related discriminatory policies towards

 the disabled that exist at the Property that preclude and/or limit his access to the Property and/or

 the goods, services, facilities, privileges, advantages and/or accommodations offered therein,

  including the ADA violations set forth in this Complaint.

         10.     Plaintiff is an advocate of the rights of similarly situated disabled persons and,

  pursuant to Houston v. MarodSupermarkets, Inc., 733 F.3d 1323 (11th Cir. 2013), is a "tester"

  for the purpose of asserting his civil rights, monitoring, ensuring, and determining whether

  places of public accommodation are in compliance with the ADA.

         11.     Plaintiff intends to visit the Property again in the near future in order to utilize the

  goods, services, facilities, privileges, advantages and/or accommodations offered at the Property

  and/or in order to test the Property for compliance with the mobility-related provisions of the

  ADA, but he will be unable to do so because of his disability due to the mobility-related ADA

  violations as well as Defendant's mobility-related discriminatory policies towards the disabled

  that exist at the Property that preclude and/or limit his access to the Property and/or the goods,

  services, facilities, privileges, advantages and/or accommodations offered therein.

          12.    Defendants have discriminated against Plaintiff by denying him access to and full

  and equal enjoyment of the goods, services, facilities, privileges, advantages and/or

  accommodations offered at the Property in violation of the ADA and will continue to

  discriminate against Plaintiff unless and until Defendants implement policies, consistent with the

  ADA, to accommodate the disabled and are compelled to remove all physical barriers relevant to




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  Plaintiffs disability that exist at the Property, including but not limited to those set forth in this

  Complaint, thus making the Property accessible to Plaintiff, as required by the ADA.

          13.               The mobility-related unlawful physical barriers and ADA violations encountered

  and/or known by Plaintiff which preclude or limit Plaintiffs ability (because of Plaintiff s

  disability) to access the Property and/or fully and equally enjoy the goods, services, facilities,

  privileges, advantages and/or accommodations of the Property, include (the applicable sections

  of the STANDARDS are also denoted3):

          a)       Non-compliant disabled person parking spaces including but not limited to
                   improper dispersion, lack of proper signage, lack of compliant adjacent access
                   aisle, lack of a proper connection to the accessible entrances and excessive slopes
                   and cross slopes (in violation of STANDARDS 208 and 502);

          b)       Non-compliant accessible routes from the parking spaces north of Deck 84 and
                   south of the Atlantic Avenue building breezeway to Blue Anchor and from the
                   public street, sidewalk and public transportation stop to the restaurant/bar due to
                   excessive slopes and cross slopes (in violation of STANDARDS 206, 402, 403
                   and 404);

           c)      Non-compliant floor and ground surfaces (in violation of STANDARDS 302,
                   303, 304, 305, 306 and 307);


           d)      Non-compliant accessible routes inside Blue Anchor due to a narrow hallway and
                   objects protruding into the path of travel and non-compliant thresholds and clear
                   floor space at the restroom entrance/exit (in violation of STANDARDS 206, 402,
                   403 and 404);

           e)       Non-compliant restrooms inside Blue Anchor including but not limited to non-
                    compliant lavatory, non-compliant grab bars, non-compliant mirror, non-
                    compliant urinal and non-compliant stall door and maneuvering space (in
                    violation of STANDARDS 213, 603 and 604);

           f)       Lack of compliant signage (in violation of STANDARD 216);

           g)       Non-compliant interior and exterior seating and dining spaces at Blue Anchor (in
                    violation of STANDARDS 226 and 902);


   3 The 2010 Standards are denoted because the required remediation will occur after March 15, 2012 and thus must
   comply with these standards.


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         h)      Non-compliant service counter and bar within Blue Anchor whose heights are in
                 excess of the maximum height allowable (in violation of STANDARDS 226, 227,
                 902 and 904) and

         i)      Non-compliant doors, doorways, door hardware and thresholds at the
                 entrances/exits to Blue Anchor (in violation of STANDARD 404).

         14.     The removal of the physical barriers, dangerous conditions and ADA violations

  set forth herein is readily achievable and is technically feasible. 42 U.S.C. § 12182(b)(2)(A)(iv)

  and 42 U.S.C. §12183(a)(2).

         15.     Plaintiff is without an adequate remedy at law and is suffering irreparable harm

  and he reasonably anticipates that he will continue to suffer irreparable harm unless and until

  Defendants are required to remove the physical barriers, dangerous conditions and ADA

  violations as well as its discriminatory policies towards the disabled that exist at the Property,

  including but not limited to those set forth herein.

          16.    Plaintiff has retained the undersigned counsel for the filing and prosecution of this

  action and is entitled to recover reasonable attorneys’ fees, costs and expenses from Defendants

  including litigation expenses and costs pursuant to 42 U.S.C. §12205.

          17.    Pursuant to 42 U.S.C. § 12188(a), this Court is provided with authority to grant

  injunctive relief to Plaintiff, including an Order compelling Defendants to implement policies,

  consistent with the ADA, to accommodate the disabled and to alter the property to make it

  readily accessible to and usable by Plaintiff as required by the ADA.

          WHEREFORE, Plaintiff, David Poschmann, requests that the Court issue a permanent

  injunction enjoining Defendants from continuing their mobility-related discriminatory practices,

  ordering it to implement policies, consistent with the ADA, to accommodate the disabled and to

  remove the mobility-related physical barriers to access and alter the subject Property to make it




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 readily accessible to and usable by Plaintiff as required by the ADA, and awarding Plaintiff

  reasonable attorneys’ fees, litigation expenses, including expert fees, and costs.

                                                        s/Drew M. Levitt
                                                        DREW M. LEVITT, ESQ.
                                                        Florida Bar No: 782246
                                                        E-mail: DrewMLevitt@gmail.com
                                                        LEE D. SARKIN, ESQ.
                                                        Florida Bar No. 962848
                                                        E-mail: Lsarkin@aol.com
                                                        Attorneys for Plaintiff
                                                        4700 N.W. Boca Raton Boulevard
                                                        Suite 302
                                                        Boca Raton, Florida 33431
                                                        Telephone (561) 994-6922
                                                        Facsimile (561) 994-0837




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